                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09 CR 13


UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff                                )
                                               )
      V                                        )              ORDER
                                               )
DENNIS LAMAR BRUTON,                           )
                                               )
      Defendant                                )



      THIS MATTER is before the court on Ronald C. True’s Application for

Admission to Practice Pro Hac Vice of Kevin Jesse McCants. It appearing that Kevin

Jesse McCants is a member in good standing with the Bar of the District of Columbia

and will be appearing with Ronald C. True, a member in good standing with the Bar

of this court, that all admission fees have been paid, and that the email address of the

attorney seeking admission has been provided, the court enters the following Order.

                                     ORDER

      IT IS, THEREFORE, ORDERED that Ronald C. True’s Motion for

Application Pro Hac Vice (#187) of Kevin Jesse McCants is GRANTED, and that

Kevin Jesse McCants is ADMITTED to practice, pro hac vice, before the Bar of this

court while associated with Ronald C. True. It is also ORDERED that the Motion

to Withdraw (#166) filed by Rich Cassady be revisited sua sponte, is ALLOWED

and Mr. Cassady is relieved.




   Case 1:09-cr-00013-MR-WCM         Document 200      Filed 04/24/09    Page 1 of 2
                                Signed: April 24, 2009




Case 1:09-cr-00013-MR-WCM   Document
                                2    200    Filed 04/24/09   Page 2 of 2
